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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)                                   MDL No. 2592
PRODUCTS LIABILITY LITIGATION
                                                               SECTION L

THIS DOCUMENT RELATES TO:                                      JUDGE ELDON E. FALLON

Joseph Orr, Jr., et al. v. Janssen et al.                      MAGISTRATE NORTH
Case No. 2:15 -cv-03708

 MEMORANDUM IN SUPPORT OF DEFENDANTS’ JOINT MOTION IN LIMINE TO
  EXCLUDE REFERENCE TO DR. ROBERT CALIFF AS FDA COMMISSIONER
           UNDER FEDERAL RULES OF EVIDENCE 402 & 403

                                              INTRODUCTION

           Defendants move to exclude, under Federal Rules of Evidence 402 and 403, any

evidence, argument or attempt to attribute non-party Dr. Robert Califf’s emails prior to his being

appointed FDA Commissioner as views held by FDA. Dr. Califf played a lead role in the

ROCKET AF Study when he worked at the Duke Clinical Research Institute (“DCRI) and his

internal emails in that capacity were produced by both the Defendants and by DCRI. In January

2015, Dr. Califf was appointed as the Deputy Commissioner of FDA’s Office of Medical

Products and Tobacco and served in that role until February 2016, when he was nominated and

confirmed as FDA Commissioner. Dr. Califf was FDA Commissioner from February 2016 until

January 2017.

           Defendants anticipate that Plaintiffs will attempt to introduce emails and other documents

that Dr. Califf wrote as a private citizen to infer that those emails represent the views of the FDA

as was done in the Boudreaux trial. Allowing reference or argument attempting to attribute Dr.

Califf’s views expressed in private emails as a position held by FDAwould be highly prejudicial,

as it may cause the jury to improperly infer that the ideas of Dr. Califf expressed before he




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became FDA Commissioner were in fact representative of the FDA’s position. Any perceived

probative value that Plaintiffs may attach to evidence is substantially outweighed by the undue

prejudice Defendants, confusion of the issues, and cause delay. For these and the reasons set

forth below, this evidence should be excluded at trial.

                                           ARGUMENT

I.         Evidence or argument that Dr. Califf was FDA Commissioner is irrelevant.

           The Federal Rules of Evidence make clear that only relevant evidence is admissible.

“Relevancy is the threshold determination in any decision regarding the admissibility of

evidence.”      Seidman v. Am. Airlines, Inc., 923 F.2d 1134, 1139 (5th Cir. 1991) (internal

quotation omitted). Evidence is only relevant if it has a tendency to make a fact that is of

consequence to the determination of an action more or less probable than without the evidence.

Fed. R. Evid. 401; McGonigal v. Gearhart Indus., Inc., 851 F.2d 774, 778 (5th Cir. 1988);

Kennedy v. Magnolia Marin Transp. Co., 189 F. Supp. 3d 610, 619 (E.D. La. May 17, 2016).

Evidence lacking probative value is properly excluded as irrelevant. Fed. R. Evid. 402.

           Dr. Califf’s appointment as FDA Commissioner after his work on ROCKET AF is only

relevant to the extent that he expressed views in the capacity of Commissioner. See Fed. R.

Evid. 401. The emails from Dr. Califf that Plaintiffs seek to introduce were written when he

worked for DCRI, and not FDA. See Shah Dep. at 363:2-18 (Ex. A) (“Q. At this time he was not

the commissioner of the FDA, but he was the person who conducted the primary trial that

supports the Afib indication ROCKET, correct? A. He was. And he was also leading the Duke

Clinical Research Institute, which obviously conducted clinical trials for a living. . . . I would say

that that’s probably one of his motives, was to conduct another trial, because it was part of the

way that DCRI made money.”). Dr. Califf’s personal views expressed at that time do not



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represent the opinions of FDA, and his later appointment as FDA Commissioner is not relevant

to his views held at any earlier point in time. .

II.        Argument or reference to Dr. Califf’s position as the former FDA Commissioner
           would cause unfair prejudice and jury confusion.

           Argument or suggestion that Dr. Califf’s prior emails could be attributed to the position

of FDA also will likely cause the jury to afford undue weight to the emails he drafted while at

DCRI simply because Dr. Califf was later appointed FDA Commissioner. Plaintiffs’ experts

made clear that Plaintiffs plan to use Dr. Califf’s position as FDA Commissioner to emphasize

the weight of emails that he wrote well before joining the FDA. See Ex. B. Backes Report VII.

B. (“[T]he current commissioner of the FDA and co-principal investigator of ROCKET . . .

stated that the doses currently sold for the atrial fibrillation indication were too high . . . .”).

Doing so will be highly prejudicial to the Defendants and is improper. See Fed. R. Evid. 403;

Vice v. N. Telecom, Inc., Civ. A. No. 94-1235, 1996 WL 507340, at *2 (E.D. La. Sept. 6, 1996)

(excluding OSHA citations on the grounds that their probative value was “substantially

outweighed by the danger that the jury would ascribe unfair weight to the citation because of its

‘governmental’ source”).        Accordingly, Plaintiffs should be precluded from arguing or

suggesting that Dr. Califf’s earlier emails represent the views of FDA.

                                           CONCLUSION

           For the foregoing reasons, the Court should exclude evidence or argument attempting to

attribute earlier emails written by Dr. Califf as FDA’s position. .




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Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 12, 2017, the foregoing pleading
was filed electronically with the Clerk of Court using the CM/ECF system. Notice of this
filing will be sent to Liaison Counsel for Plaintiffs and Defendants by operation of the
court’s electronic filing system and served on all other plaintiff counsel via MDL
Centrality, which will send notice of electronic filing in accordance with the procedures
established in MDL 2592 pursuant to Pre-Trial Order No. 17.

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